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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION


    Lynk Labs, Inc.,                                       Case No. 6:21-cv-00097-ADA

                    Plaintiff,

        v.
                                                           JURY TRIAL DEMANDED
    Home Depot USA, Inc., The Home Depot
    Inc., and Home Depot Product Authority,
    LLC,

                    Defendants.



                                       SCHEDULING ORDER

    DATE                   EVENT
    June 23, 2021          Plaintiff serves preliminary1 infringement contentions in the form of a
                           chart setting forth where in the accused product(s) each element of the
                           asserted claim(s) are found. Plaintiff shall also identify the earliest
                           priority date (i.e. the earliest date of invention) for each asserted claim
                           and produce: (1) all documents evidencing conception and reduction to
                           practice for each claimed invention, and (2) a copy of the file history for
                           each patent in suit.
    August 18, 2021        Defendant serves preliminary invalidity contentions in the form of (1) a
                           chart setting forth where in the prior art references each element of the
                           asserted claim(s) are found, (2) an identification of any limitations the
                           Defendant contends are indefinite or lack written description under
                           section 112, and (3) an identification of any claims the Defendant
                           contends are directed to ineligible subject matter under section 101.
                           Defendant shall also produce (1) all prior art referenced in the invalidity
                           contentions, and (2) technical documents, including software where
                           applicable, sufficient to show the operation of the accused product(s)..


1
   The parties may amend preliminary infringement contentions and preliminary invalidity
contentions without leave of court so long as counsel certifies that it undertook reasonable efforts
to prepare its preliminary contentions and the amendment is based on material identified after those
preliminary contentions were served, and should do so seasonably upon identifying any such
material. Any amendment to add patent claims requires leave of court so that the Court can address
any scheduling issues.
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    DATE                 EVENT
    September 1, 2021    Parties exchange claim terms for construction.
    September 15, 2021   Parties exchange proposed claim constructions.
    September 22, 2021   Parties disclose extrinsic evidence. The parties shall disclose any
                         extrinsic evidence, including the identity of any expert witness they may
                         rely upon with respect to claim construction or indefiniteness. With
                         respect to any expert identified, the parties shall identify the scope of the
                         topics for the witness’s expected testimony.2 With respect to items of
                         extrinsic evidence, the parties shall identify each such item by production
                         number or produce a copy of any such item if not previously produced.
    September 29, 2021   Deadline to meet and confer to narrow terms in dispute and exchange
                         revised list of terms/constructions.
    October 6, 2021      Defendant files opening claim construction brief, including any
                         arguments that any claim terms are indefinite.
    October 27, 2021     Plaintiff files Responsive claim construction brief.
    November 10, 2021    Defendant files Reply claim construction brief.
    November 24, 2021    Plaintiff files a Sur-Reply claim construction brief.
    November 30, 2021    Parties submit Joint Claim Construction Statement.
                         See General Issues Note #9 regarding providing copies of the briefing to
                         the Court and the technical adviser (if appointed).
    December 1, 2021     Parties submit optional technical tutorials to the Court and technical
                         adviser (if appointed).3
    December 8,          Markman Hearing at 9:00 a.m. This date is a placeholder and the Court
    2021(or as soon as   may adjust this date as the Markman hearing approaches.
    practicable)
    December 9, 2021     Fact Discovery opens; deadline to serve Initial Disclosures per Rule
                         26(a).
    January 19, 2022     Deadline to add parties.
    February 2, 2022     Deadline to serve Final Infringement and Invalidity Contentions. After
                         this date, leave of Court is required for any amendment to Infringement
                         or Invalidity contentions. This deadline does not relieve the Parties of
                         their obligation to seasonably amend if new information is identified after
                         initial contentions.



2
  Any party may utilize a rebuttal expert in response to a brief where expert testimony is relied
upon by the other party.
3
  The parties should contact the law clerk to request a Box link so that they can directly upload the
file to the Court’s Box account.
                                                    2
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DATE                 EVENT
March 30, 2022       Deadline to amend pleadings. A motion is not required unless the
                     amendment adds patents or patent claims. (Note: This includes
                     amendments in response to a 12(c) motion.)
June 8, 2022         Deadline for the first of two meet and confers to discuss significantly
                     narrowing the number of claims asserted and prior art references at issue.
                     Unless the parties agree to the narrowing, they are ordered to contact the
                     Court’s Law Clerk to arrange a teleconference with the Court to resolve
                     the disputed issues.
July 6, 2022         Close of Fact Discovery.
July 13, 2022        Opening Expert Reports.
August 10, 2022      Rebuttal Expert Reports.
August 31, 2022      Close of Expert Discovery.
September 7, 2022    Deadline for the second of two meet and confers to discuss narrowing the
                     number of claims asserted and prior art references at issue to triable
                     limits. To the extent it helps the parties determine these limits, the parties
                     are encouraged to contact the Court’s Law Clerk for an estimate of the
                     amount of trial time anticipated per side. The parties shall file a Joint
                     Report within 5 business days regarding the results of the meet and
                     confer.
September 14, 2022   Dispositive motion deadline and Daubert motion deadline. See General
                     Issues Note #9 regarding providing copies of the briefing to the Court
                     and the technical advisor (if appointed).
September 28, 2022   Serve Pretrial Disclosures (jury instructions, exhibits lists, witness lists,
                     discovery and deposition designations).
October 12, 2022     Serve objections to pretrial disclosures/rebuttal disclosures.
October 19, 2022     Serve objections to rebuttal disclosures and File Motions in limine
October 26, 2022     File Joint Pretrial Order and Pretrial Submissions (jury instructions,
                     exhibits lists, witness lists, discovery and deposition designations); file
                     oppositions to Motions in limine.
November 2, 2022     File Notice of Request for Daily Transcript or Real Time Reporting. If a
                     daily transcript or real time reporting of court proceedings is requested
                     for trial, the party or parties making said request shall file a notice with
                     the Court and e-mail the Court Reporter, Kristie Davis at
                     kmdaviscsr@yahoo.com.
                     Deadline to meet and confer regarding remaining objections and disputes
                     on Motions in limine.
November 10, 2022    File joint notice identifying remaining objections to pretrial disclosures
                     and disputes on Motions in limine.


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 DATE                EVENT
 November 16, 2022   Final Pretrial Conference. The Court expects to set this date at the
                     conclusion of the Markman Hearing. [TENTATIVE]
 December 7, 2022    Jury Selection/Trial. The Court expects to set these dates at the
                     conclusion of the Markman Hearing. [TENTATIVE]


            13th day of _________________________,
SIGNED this ____                   August          2021.



                                        ALAN D ALBRIGHT
                                        UNITED STATES DISTRICT JUDGE




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